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                           No. 23-60167
__________________________________________________________________
                              IN THE
                United States Court of Appeals
                       FOR THE FIFTH CIRCUIT

                  ILLUMINA, INC. AND GRAIL, INC.,

                                                                Petitioners,

                                        v.

                       FEDERAL TRADE COMMISSION,

                                                               Respondent.

                On Petition for Review from the Federal
               Trade Commission (Docket Number 9401)


         BRIEF OF 34 MEMBERS OF CONGRESS AS
        AMICI CURIAE IN SUPPORT OF PETITIONERS

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            CERTIFICATE OF INTERESTED PERSONS*

     I certify that the following listed persons and entities have an

interest in this case’s outcome as described in Fifth Circuit Rule 28.2.1.

These representations are made so that the judges of this Court may

evaluate possible disqualification or recusal.

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June 12, 2023
*See Appendix for list of Amici Curiae




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                   INTEREST OF AMICI CURIAE 1

     Amici curiae are 34 Members of Congress—2 Senators and 32

Members of the House of Representatives. (See Appendix for List of

Amici.) Amici have a special interest both in ensuring that federal

administrative agencies faithfully act within the scope of authority

delegated to them by Congress and in protecting the physical health and

safety of their constituents and all Americans.

     Amici believe that the FTC’s decision to block the Illumina-Grail

merger flagrantly exceeds the authority delegated by Congress, and

seriously threatens the health and well-being of Americans by hindering

the development of potentially life-saving cancer detention technology.

     Accordingly, Amici respectfully urge this Court to reverse the FTC’s

decision and render judgment for Illumina and Grail.




1.    This brief is submitted under Federal Rule of Appellate Procedure
29(a) with the consent of all parties. Undersigned counsel for amici curiae
certifies that this brief was not authored in whole or part by counsel for
any of the parties; no party or party’s counsel contributed money for the
brief; and no one other than amici and their counsel have contributed
money for this brief.


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                           INTRODUCTION

     The Federal Trade Commission’s power is not without limit. Section

5 of the FTC Act confines the FTC’s power to stopping “unfair methods of

competition.” This does not include remaking a sector of the economy.

The FTC Commissioners must observe the limits imposed by Congress,

not act as though their “power [is] more arbitrary than that possessed by

any king or potentate on earth.” 51 Cong. Rec. 11,113 (1914) (Remarks of

Sen. Reed).

     The current FTC disregards these congressionally mandated and

court defined limits, no longer evincing the regulatory humility

exemplified by past commissioners. Remarks by Comm’r Maureen K.

Ohlhausen, Regulatory Humility in Practice before the American

Enterprise Institute (Apr. 1, 2015) (“recognizing the inherent limitations

of regulation and acting in accordance with those limits”). 2 Instead, the

current commissioners have engaged in a pattern of unauthorized actions

that bear striking resemblance to those of a potentate.




2.   https://www.ftc.gov/system/files/documents/public_statements/
635811/150401aeihumilitypractice.pdf

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      Nor has the FTC attempted to hide its disregard of these legislative

limits. In November 2022, three commissioners commenced their

campaign of overreach when they replaced a bipartisan statement of

enforcement principles about unfair methods of competition reflecting

decades of legal precedent and economic learning with a statement that

promised, according to one dissenting commissioner, “summarily to

condemn essentially any business conduct [the FTC majority] finds

distasteful.” Comm’r Christine S. Wilson, Dissenting Statement

Regarding the Policy Statement Regarding the Scope of Unfair Methods

of Competition under Section 5 of the Federal Trade Commission Act

(Nov. 10, 2022). 3

      Three months later, the same three-person majority followed

through on that threat and launched a rulemaking to summarily ban

noncompete     provisions   in   nearly      all   employment      contracts,   a

breathtaking rule that would overturn dozens of state laws, hundreds of

years of legal precedent, and roughly one-fifth of all employment

contracts in the United States. Comm’r Christine S. Wilson, Dissenting



3.   https://www.ftc.gov/legal-library/browse/cases-proceedings/public-
statements/dissenting-statement-of-commissioner-wilson-on-policy-
statement-regarding-section-5

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Compete Clause Rule (Jan. 5, 2023). 4

     Blocking the Illumina re-acquisition of Grail is simply the latest

example of FTC overreach; it is industrial policymaking masquerading

as an enforcement action.

     Illumina created Grail years ago and then spun off most of its

ownership to allow Grail the freedom to more effectively pursue its

research and funding opportunities. Grail developed multicancer early

detection (MCED) tests that show great promise, and it is today the only

developer to even make limited sales possible without full FDA approval.

But Grail cannot commercialize production and obtain the necessary full

regulatory approval on its own—required steps to delivering the full

benefits of these tests to the public and detecting cancer as quickly as

possible. To accomplish this on any reasonable timeline, it needs to

recombine with Illumina.

     To address any possible competitive concerns, Illumina made an

Open Offer to commit to supplying other MCED developers who use



4.   https://www.ftc.gov/legal-library/browse/cases-proceedings/public-
statements/dissenting-statement-commissioner-christine-s-wilson-
concerning-notice-proposed-rulemaking-non

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Illumina’s products and services on a nondiscriminatory basis. These

developers are well behind Grail—years away even from the necessary

testing––but this binding Open Offer will allow them to continue

whatever competitive pressure they might provide.

      Because of the FTC’s actions, Illumina has been unable to fully

integrate Grail and speed up these life-saving developments. Rather than

focus on supplying those other developers, helping Grail commercialize,

and   expediting   the    availability       of   life-saving   cancer    detection

technologies, Illumina has instead been forced to spend years fighting the

FTC. After an extensive investigation and full-blown trial, Illumina’s

FTC’s prospects were looking up when the FTC Administrative Law

Judge (ALJ) ruled in its favor, the first time in history that this FTC ALJ

had ruled for merging parties fighting an FTC challenge. Then, for the

first time in decades, the FTC over-ruled its ALJ. 5



5.    After an extensive five-week trial with comprehensive testimony
from 66 witnesses and the introduction of 4,500 exhibits, in September
2022 the FTC ALJ dismissed the FTC’s merger challenge––for the first
time ever—finding the FTC had failed to meet its prima facie burden.
The ALJ concluded that Grail’s MCED test is the only currently
available MCED product and other MCED products will not become
available for at least five to seven years, if then. Meanwhile, he also
concluded that Illumina’s “Open Offer” protects against a lessening
of competition.

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     Illumina’s appeal raises many legal and constitutional issues;

however, as members of Congress, Amici will focus on two related

arguments that underscore the FTC’s overreach well beyond the limits

Congress placed on its authority.

     First, the FTC’s order is so broad and baseless that the FTC is no

longer merely attending its duty to prevent unfair methods of

competition. It is acting as the potentate that Congress expressly sought

to avoid creating—able to arbitrarily choose winners and losers and

decide the face and fate of an entire industry sector. These actions go well

beyond the authority granted by Congress and implicate the Court’s

major questions doctrine.

     The opinion effectively constrains the development of the market

for early cancer detection, which is a matter of economic and political

significance. Opinion of the Commission (Opinion) (Apr. 3, 2023). The

major questions doctrine prevents agencies like the FTC from setting

policies that decide questions of economic and political significance—and

therefore the prerogative of Congress—absent clear authorization from

Congress. The statutes under which the FTC claims to act do not clearly

authorize these actions.



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     Second, the FTC’s opinion misinterprets Section 7 of the Clayton

Act, going well beyond the limits imposed by that statute and recognized

by courts for decades. The FTC manufactures a market and market

participants out of whole cloth, misuses expert testimony, and ignores

facts, relying instead on credo and conjecture to conjure a “mere

possibility” of future competitive harm from the transaction. The Clayton

Act requires more than a theory about the “mere possibility” of

a violation.

     For either of these reasons, the FTC’s opinion should be overturned,

and this overreach stopped.

                              ARGUMENT

I.   THE MAJOR QUESTIONS DOCTRINE PRECLUDES THE
     FTC FROM UNWINDING THIS TRANSACTION

     Last year, the Supreme Court for the first time fully explained the

“major questions doctrine.” West Virginia v. EPA, 142 S. Ct. 2587 (2022).

The doctrine itself is not new, as the Court explained: “it refers to an

identifiable body of law that has developed over a series of significant

cases all addressing a particular and recurring problem: agencies

asserting highly consequential power beyond what Congress could

reasonably be understood to have granted.” Id. at 2609 (collecting cases).


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     The doctrine is nothing more than the basic civics lesson taught in

grade school: Congress makes policy judgments when it passes

legislation and administrative agencies administer those policy

judgments within the bounds set by the laws passed by Congress. Id.

(“We presume that ‘Congress intends to make major policy decisions

itself, not leave those decisions to agencies.’ ”); see also William Eskridge

Jr., Interpreting Law: A Primer on How to Read Statutes and the

Constitution 288 (2016) (“Even if Congress has delegated an agency

general rulemaking or adjudicatory power, judges presume that

Congress does not delegate its authority to settle or amend major social

and economic policy decisions.”); U.S. Const. art. I, § 1.

     The major questions doctrine counsels judicial skepticism toward

agency action with substantial “economic and political significance”—i.e.,

action that strays into the arena preserved for legislators. West Virginia,

142 S. Ct. at 2608. When confronted with such cases, courts must assure

themselves that Congress made an unmistakable delegation of authority

for such agency action. Only then may the agency “implement and

enforce the laws” Congress enacted. Gundy v. United States, 139 S. Ct.

2116, 2123 (2019). Absent such a clear statement from Congress, there is



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an unacceptable risk that the administrative agency is not administering

the law, but instead “attempting to ‘work around’ the legislative process

to resolve for itself a question of great political significance.” West

Virginia, 142 S. Ct. at 2621 (Gorsuch, J., concurring) (citation omitted).

     Courts presume “Congress intends to make major policy decisions

itself, not leave those decisions to agencies.” Id. at 2609. An agency’s

assertion of “unheralded” regulatory power over “a significant portion of

the American economy” also presents a major question. Id. at 2608. And

to take such regulatory action, an agency must point to clear

congressional authorization. See Ala. Ass’n of Realtors v. HHS, 141 S. Ct.

2485, 2489 (2021).

     The FTC’s obstruction of Illumina’s re-acquisition of Grail is a

textbook example of agency action that meets both prongs of the major

questions doctrine. First, the agency action is one of “economic and

political significance” as it hinders the development, regulatory approval,

and commercialization of an entire market for a revolutionary method to

detect multiple forms of cancer—literally, a matter of life and death.

Second, the FTC went well beyond any authority granted by Congress

under the Clayton and FTC Acts by becoming a sector planner and



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substituting its judgment for that of the marketplace by selecting the

number and identity of competitors in a nascent market.

     A.    The FTC’s Obstruction of the Illumina-Grail Merger Is
           an Action of Economic and Political Significance
           Triggering the Major Questions Doctrine

     Cancer risk and its early detection obviously are matters of

“economic and political significance.” The disease killed over 600,000

Americans in 2021, the second leading cause of death. 6 Congress has

made many policy decisions to fight it. In the Centers for Disease Control

and Prevention Consolidated Appropriations Act in 2023, Congress

allocated $7.3 billion to the National Cancer Institute (NCI), a $408

million increase year over year. 7

     Of that money, $216 million was allocated for the NCI component

of the Cancer Moonshot, the Biden Administration’s plan to “end cancer

as we know it.” While there are many elements of the Cancer Moonshot,



6.   Centers for Disease Control and Prevention, National Center for
Health Statistics, FastStats, Leading Causes of Death, https://www.cdc.
gov/nchs/faststats/leading-causes-of-death.htm

7.   Fact Sheet: President Biden Reignites Cancer Moonshot
to End Cancer as We Know It (Feb. 2, 2022), https://www.
whitehouse.gov/briefing-room/statements-releases/2022/02/02/fact-
sheet-president-biden-reignites-cancer-moonshot-to-end-cancer-as-we-
know-it/

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one is for the NCI to “study and evaluate multicancer detection tests,”

like Grail’s test. The point is that cancer detection is a matter of economic

and political significance and Congress has treated it as such.

     Grail is poised to play a large role in improving cancer detection.

From a single blood draw, its test can simultaneously screen for more

than fifty types of cancer in asymptomatic patients. FTC Initial Decision

¶¶ 228, 231 (Sept. 9, 2022) (Initial Decision). Grail’s test is the only such

MCED test for sale now, though in limited quantities without full FDA

approval. Grail’s small size and scale means it needs to combine with

Illumina to achieve wide-scale commercialization, timely regulatory

approvals, payor reimbursement, and production and distribution at

scale. The FTC has chosen to insert itself and its own speculative

judgments into this matter of “economic and political significance.”

     B.    The FTC Exceeded the Limited Authority Granted to
           It by Congress Under the FTC and Clayton Acts

     Yet Congress did not clearly authorize the FTC in either the FTC

Act or the Clayton Act to make the policy decisions it effectively made in

blocking this transaction. Under the FTC Act, the FTC may prohibit

“unfair methods of competition.” 15 U.S.C. § 45. While broad, that charge

is not boundless.


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     Congress intended the FTC to use Section 5, like other laws aimed

at prohibiting anticompetitive conduct, to protect competition, not

competitors. See Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S.

477, 488 (1977) (quoting Brown Shoe Co. v. United States, 370 U.S. 294,

320 (1962) (the antitrust laws were enacted for “the protection of

competition, not competitors”)).

     The FTC now disregards Congress’ direction to focus on

competition—not the number of competitors—and instead appointed

itself health care sector planner when it found that more potential (i.e.,

hypothetical) developers of MCED tests necessarily will improve

competition. Instead of focusing on competition and its results for the

American public, the FTC’s opinion attempts to revive long-discredited

analyses of vertical mergers that focus on “the number and strength of

competing   suppliers    and   purchasers.”         Opinion     at   41,   46.   As

Commissioner Wilson’s concurring opinion notes, the cases relied on by

the majority are more than forty years old and have been ignored by the




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FTC and the courts in numerous more recent cases. Comm’r Wilson

Concurrence at 2 (Apr. 3, 2023). 8

     And for good reason. As the concurrence notes, those old cases relied

on a discredited economic paradigm—Structure-Conduct-Performance—

that focused more on counting competitors than economic realities

(quoting Herbert J. Hovenkamp, Competitive Harm from Vertical

Mergers, Fac. Scholarship at Penn Carey L. at 5 (Oct. 24, 2020) 9 (“The

economic writings since the 1980’s has largely repudiated the Brown

Shoe view of vertical mergers.”)). Comm’r Wilson Concurrence at 2. The

FTC’s focus on individual potential rivals—and blithe assumption that

more of them will necessarily lead to better outcomes for consumers—is

contrary to the direction Congress set when it passed Section 5 of the

FTC Act. The FTC is seeking to help hypothetical potential competitors—

not competition, and certainly not the public.

     In short, the FTC is punishing the more efficient Grail by slowing

down its commercialization and allowing the other developers of MCED




8.    https://www.ftc.gov/system/files/ftc_gov/pdf/d09401wilsoncon
curringopinion.pdf.

9.   https://scholarship.law.upenn.edu/faculty_scholarship/2218/

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tests a chance to catch up. Everyone agrees Grail is ahead of other

developers. It is the only developer selling an MCED test. Allowing Grail

to combine with Illumina through the transaction will speed regulatory

approval and commercialization of Grail’s test, saving countless lives.

With the Open Offer, other developers will continue to have the

opportunity to develop MCED tests alongside Grail’s, perhaps even

bettering it. By blocking the transaction, the FTC is slowing down the

most efficient developer to date in an effort to protect hypothetical future

competitors, thereby exceeding the authority granted to it by Congress.

     C.    The FTC Botched the Necessary Market Analysis
           Required Under the Clayton Act

     The FTC also exceeded the authority granted by Congress to

prohibit anticompetitive mergers under the Clayton Act by confidently

conjuring a market definition and list of participants before anyone is

sure any market exists. 15 U.S.C. § 18.

     Section 7 of the Clayton Act requires the FTC to show a substantial

lessening of competition “in any line of commerce in any section of the

country.” Id. The Court has long held that this language means that

“[d]etermination of the relevant market is a necessary predicate” to a

Section 7 claim. United States v. E.I. duPont de Nemours & Co., 353 U.S.


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586, 594 (1957). The Court has also held that such a determination

requires a reasoned analysis of real-world facts, not a commissioner’s

theoretical musings on competition. See United States v. Gen. Dynamics

Corp., 415 U.S. 486, 498 (1974) (“Congress indicated plainly that a

merger had to be functionally viewed, in the context of its particular

industry.”) (quoting Brown Shoe, 370 U.S. at 321–22).

     Here, the FTC defines a “nascent” market for MCED tests despite

having few if any of the functional facts necessary for such a

determination. The FTC does not know key attributes of the products in

the alleged market, such as how many cancers an MCED must detect—

is it two, fifty, or something in between? The FTC does not know how

those cancers will be detected—a single blood draw or some different or

additional procedures? Who are the participants in the market? Grail is

the only one selling these kinds of tests now, though in limited quantities

prior to full regulatory approval. The FTC considered seven other

developers—are some, or none, or all of them participants in “the

market?” All known rivals are years away from commercial launch and

full regulatory approval—when, if ever, will any of them obtain such

approvals? Even before then, to what extent will each of them engage in



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the years-long studies to even gather the data to begin the

regulatory process?

      Congress required the FTC and judges to identify a “line of

commerce” and “section of the country” under Section 7 using real-world

facts to rein in any temptation to go beyond protecting competition by

inventing markets and shaping an industry as the FTC thinks it should

be shaped. 15 U.S.C. § 18. Congress gave the FTC broad powers to stop

anticompetitive practices. But that delegation did not include the power

to decide all major policy questions by shaping a market’s structure and

naming and numbering competitors before anyone knows if a product or

market even exists.

      The FTC lacks the clear congressional authority to make the major

policy decision it has made here.

II.   THE FTC IS NOT ACTING CONSISTENTLY WITH THE
      DIRECTIVES OF THE CLAYTON ACT

      The Clayton Act, as amended, prohibits mergers whose effect “may

be substantially to lessen competition, or to tend to create a monopoly.”

Id. This standard does not require the FTC to show that the merger will

have the proscribed competitive effect with certainty, but it must

establish that the competitive effect is more than a mere possibility.


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The FTC misused expert testimony, ignored real world facts, and relied

on theory and conjecture to summon up, at most only a “mere possibility”

of competitive harm from the transaction. Id.

     Congress used the “may be” language in the original Clayton Act.

When amending the Act in 1950, Congress maintained that language.

     While Congress did not intend to require certainty to condemn

mergers as anticompetitive, it did intend to require something more than

a theoretical possibility of such harm. “The use of these words means that

[the amended Clayton Act] would not apply to the mere possibility but

only to the reasonable probability of the prescribed effect.” S. Rep. No.

1775, 81st Cong., 2d Sess. 6, Amending an Act entitled: An Act to

supplement existing laws against unlawful restraints and monopolies,

and for other purposes, approved October 15, 1914 (38 Stat. 730)

(emphasis added).

     Courts, beginning with the Supreme Court, have subsequently

interpreted and applied Congress’ direction. For example, the Court in

Brown Shoe clearly drew the “certainties/probabilities/possibilities”

distinction:

     Congress used the words ‘may be substantially to lessen
     competition’ (emphasis supplied), to indicate that its concern


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     was with probabilities, not certainties. Statutes existed for
     dealing with clear-cut menaces to competition; no statute was
     sought for dealing with ephemeral possibilities. Mergers with
     a probable anticompetitive effect were to be proscribed by
     this Act.

370 U.S. at 323.

     Similarly, two years later in Penn-Olin, the Court recited its earlier

discussion of certainties and probabilities but also quoted a warning from

its earlier Philadelphia National Bank opinion that any prediction by a

court “is sound only if it is based upon a firm understanding of the

relevant market; yet the relevant economic data are both complex and

elusive.” United States v. Penn-Olin Chem. Co., 378 U.S. 158, 171 (1964)

(quoting United States v. Phila. Nat’l Bank, 374 U.S. 321, 362 (1963)).

     Lower courts have applied the same standard. See, e.g., FTC v. HJ

Heinz, Co., 246 F.3d 708, 713 (D.C. Cir. 2001) (reasonable likelihood of

substantial lessening of competition); FTC v. Whole Foods Mkt., Inc., 548

F.3d 1028, 1042 (D.C. Cir. 2008) (probabilities, not certainties). They

have also heeded the warning to base their predictions of future

probabilities on real-world facts. See, e.g., FTC v. Arch Coal, Inc., 329 F.

Supp. 2d 109, 116–17 (D.D.C. 2004) (“Hence, antitrust theory and




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speculation cannot trump facts [and cases] must be resolved on the basis

of the record evidence relating to the market and its probable future.”).

     A comparison of this case with the courts’ review of AT&T’s

acquisition of TimeWarner in 2018 illustrates the extent of the FTC’s

overreach and disregard of the Clayton Act’s requirements. See United

States v. AT&T, 310 F. Supp. 3d 161, 189–92 (D.D.C. 2018).

     Like this case, the AT&T transaction was a vertical merger case,

with AT&T, a distributor of video content, acquiring TimeWarner, a

producer of video content. Like this case, the government attempted to

block the transaction on antitrust grounds, claiming that the transaction

would allow AT&T to block or hinder the distribution of video content by

TimeWarner competitors. Like the ALJ in this case, the AT&T District

Court found that the government had not shown anything more than a

“mere possibility” of substantial lessening of competition. Id. at 189. That

assessment was affirmed on appeal. United States v. AT&T, Inc., 916

F.3d 1029 (D.C. Cir. 2019).

     Unlike this case, the challenge in AT&T involved an evaluation of

a well-established market properly assisted by economic experts who

considered all relevant real-world conditions. Yet even those factors were



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insufficient to meet the standard set by Congress in the Clayton Act. A

comparison with the far weaker evidence in this case illustrates why the

Commissioners’ decision here was incorrect.

      First, the judge in AT&T appreciated the difficulty of the

“uncertain task” of “making a prediction about the future” of a market:

“To say the least: that is no easy assignment!” 310 F. Supp. 3d at 190.

But at least the market whose future he was predicting—the market of

multichannel video distribution, such as through cable, streaming, and

over-the-air distributors—had existed for decades. Numerous fact

witnesses, some with decades of experience in the business, helped with

that “uncertain task” by testifying as to how the businesses currently

operated and offered their own predictions about how the transaction

would affect those practices. Id.

      In this case, Grail first offered for sale its MCED test in April 2021

on a limited basis and by later that year had sold about 3,000 tests. Initial

Decision at 11–12. Going beyond limited commercialization will require

Grail to seek FDA approval, which in turn will require “multi-year large-

scale clinical studies.” Id. at 26. Still, Grail’s test is the only such product

currently for sale at all, and most of the other researchers do not even



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expect to launch a screening test for years. Id. at 27–28. Finally, the tests

of those other researchers might work differently than Grail’s test and

detect many fewer cancer types. Id. And yet, the FTC believes it can

confidently describe the contours of a market that includes Grail and

many other researchers and predict the effects of this transaction on that

alleged market now and in the near and distant future, despite that this

market does not exist.

     Second, in AT&T, the defendants “irrevocably” offered an

arbitration agreement commitment to competitive distributors of video

content to ease their fears that, post-transaction, the merged entity

would use its leverage over popular content to harm those distributors

with blackouts of popular content. 310 F. Supp. 3d at 184. The

government urged the judge to “ignore” the commitment or view it as an

admission that the transaction would lead to the competitively harmful

effects of leveraging asserted by the government. Id. at nn.31, 51. The

judge decided to consider the commitment because its mere presence in

the market “will have real-world effects.” Id. at n.51. After consideration,

the judge found the commitment yet another reason to be “skeptical of

the Government’s increased-leverage theory of competitive harm.” Id.



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      Similarly, in one of the few real-world facts in the alleged market,

Illumina also made a commitment, an Open Offer, to the current

customers of its gene-sequencing products and services that would ease

any fears of post-transaction leveraging by locking Illumina’s contractual

terms in place for years. Initial Decision at 98. Several such customers

have agreed to the Open Offer. Id. at 154. Just as in AT&T, the

government (here, FTC complaint counsel) urged that the Open Offer be

ignored as “made for litigation.” Initial Decision at 153. Just as in AT&T,

the judge (here, the FTC ALJ) rejected that argument, considered the

Open Offer as part of his evaluation of the potential real-world effects of

the   transaction,     and   found   that       it   helped   alleviate    fears   of

anticompetitive effects post-transaction. Id. at 178–88.

      Unfortunately, the Commissioners rejected that approach and

found a way to ensure that the real-world fact of the Open Offer did not

thwart their desired theoretical outcome. Instead of requiring FTC

complaint counsel to deal with the often-accepted Open Offer as a fact in

their prima facie case, the majority opinion relegated consideration of the

Open Offer to rebuttal and assigned the burden of proof to Illumina and

Grail. Opinion at 61–65. There, the opinion followed “antitrust theory



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and speculation” and imagined several ways in which the Open Offer

might not remedy complaint counsel’s anticompetitive harm thesis: “But

it could easily give plausible-sounding explanations for missed deadlines

or service failures” (id. at 68); “Illumina could also . . . say simple things

like, you know, ‘We can’t get a technician out to your sequencers until

next Friday’ ” (id. at 69); “As a combined firm, Illumina could adapt its

new technology to give Grail a competitive edge.” Id. (all emphases

added). Congress intended the FTC to grapple with probabilities, not

“ephemeral     possibilities”   and     other      musings      of   events      that

“could” happen.

      Third, the AT&T court properly used economic experts to assist in

its “uncertain task” by having them opine on subjects where they had

real expertise. Both parties used economic witnesses (Shapiro and

Carlton) with decades of study and experience in industrial organization

economics in general and predicted responses to economic incentives in

particular. See, e.g., AT&T, 310 F. Supp. 3d at 187. While crediting both

witnesses, the court ended up siding with the defense’s expert

witness. Id.




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     In this case, FTC complaint counsel called an industrial

organization economic witness, Dr. Fiona Scott Morton, to opine on

various questions, including speculation about the possibility that other

researchers of MCED tests might improve on or even leapfrog Grail’s test.

She speculated that “one of those approaches might turn out to be

superior in the future. A rival might make a discovery or advancement

at any time, and leapfrog ahead of Grail.” Initial Decision at 147–48

(quoting Scott Morton Expert Report ¶¶ 159, 222 (emphasis added)).

     The FTC ALJ recognized that Scott Morton’s qualifications to

render such speculative opinions were “minimal” because she is “not an

expert . . . in any field of chemistry or biological studies [and] does not

have medical training or direct experience with cancer screening [and]

lacks scientific expertise to compare and contrast . . . tests in

development.” Initial Decision at 147 n.35. As a result, the ALJ rejected

such speculation as “unsupported.” Id. at 148.

     Unfortunately, the FTC commissioners embraced Scott Morton’s

report and her speculation. The opinion described Scott Morton as

“highly qualified to offer economic opinions” and listed her lengthy

academic and enforcement accomplishments in economics. Opinion at 47



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n.31 (emphasis added). Left unexplained was how that experience in

economics qualified her as an expert in the possible development of

cancer testing many years in the future. But the FTC commissioners

went even further and dropped Scott Morton’s caution about

developments that “might” happen to assert that they knew what “would”

happen: “lower availability of competing MCED tests would harm U.S.

patients;” “Consumers would lose the benefit of multiple competitors

pursuing diverse scientific approaches.” Id. at 59 (emphasis added).

     The FTC ALJ recognized the

     substantial uncertainty around the MCED tests in
     development . . . when clinical trials for many of the MCED
     tests in development might be started . . . whether any of [the
     tests] will get FDA approval . . . if the . . . tests . . . will launch
     . . . how many cancers [the tests] will screen for . . . and . . .
     what features the . . . tests may have.

Initial Decision at 148. The FTC ALJ did not find speculation from an

economist helpful in clearing up this uncertainty and rejected it. Id.

(quoting AT&T, 310 F. Supp. 3d at 221) (“To be probative in a particular

case, expert testimony must incorporate assumptions that are

‘reasonable’ in light of the record evidence.”). The FTC commissioners

ignored such uncertainty, accepted speculation by an unqualified expert,

and confidently asserted that they could correctly predict scientific


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developments years into the future. Such misuse of antitrust theory and

conjecture to trump facts and divine ephemeral possibilities about an

uncertain future conflicts with the Clayton Act as written by Congress

and interpreted by courts and must be rejected.

                              CONCLUSION

        Amici request that the Court hold that, in blocking this

Illumina/Grail transaction, the FTC exceeded the scope of its authority

granted by Congress and that the Court overturn the FTC’s action in

this case.

                                    Respectfully submitted,

Date:    June 12, 2023              BONA LAW PC

                                    /s/ Luke Hasskamp
                                    LUKE HASSKAMP

                                    Counsel for Amici Curiae




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                    CERTIFICATE OF COMPLIANCE

        Pursuant to Fed. R. App. P. 32(a)(7)(C), I certify that:

        This brief complies with the type-volume limitation of Fed. R. App.

P. 32(a)(7)(B) because this brief contains 4,914 words, excluding the parts

of the brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii).

        This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6)

because this brief has been prepared in a proportionately spaced typeface

using Word 2016, Century Schoolbook 14-point font.

Date:     June 12, 2023              BONA LAW PC

                                     /s/ Luke Hasskamp
                                     LUKE HASSKAMP

                                     Counsel for Amici Curiae*




*See Appendix for list of Amici Curiae




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                         CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2023, I electronically filed the

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Date:     June 12, 2023              BONA LAW PC

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*See Appendix for list of Amici Curiae




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                           APPENDIX

                      List of Amici Curiae

                   MEMBERS OF CONGRESS

                    2 United States Senators

                         Sen. Bill Hagerty

                        Sen. John Kennedy

32 Members of the United States House of Representatives

                      Lead Representatives:

  Rep. Gus M. Bilirakis (FL-12) and Rep. Darrell Issa (CA-48)

                    Rep. Rick W. Allen (GA-12)

                   Rep. Mark E. Amodei (NV-02)

               Rep. Larry Bucshon, M.D. (IN-08)

                   Rep. Vern Buchanan (FL-16)

             Rep. Michael C. Burgess, M.D. (TX-26)

                    Rep. Kat Cammack (FL-03)

              Rep. Earl L. “Buddy” Carter (GA-01)

              Rep. Lori Chavez-DeRemer (OR-05)

                      Rep. Ben Cline (VA-06)

                     Rep. Jeff Duncan (SC-03)

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                 Rep. Neal P. Dunn, M.D. (FL-02)

                     Rep. Mike Ezell (MS-04)

         Rep. A. Drew Ferguson, IV D.M.D. (GA-03)

             Rep. Andrew R. Garbarino (NY-02)

                   Rep. Lance Gooden (TX-05)

                 Rep. Diana Harshbarger (TN-01)

                    Rep. Erin Houchin (IN-09)

                  Rep. Richard Hudson (NC-09)

                  Rep. John Joyce, M.D. (PA-13)

                     Rep. Mike Kelly (PA-18)

           Rep. Nicholas A. Langworthy (NY-23)

                   Rep. Debbie Lesko (AZ–08)

                    Rep. Nancy Mace (SC-01)

      Rep. Mariannette J. Miller-Meeks, M.D. (IA-01)

                    Rep. Barry Moore (AL-02)

                     Rep. Greg Pence (IN-06)

                 Rep. Guy Reschenthaler (PA-14)

                     Rep. Keith Self (TX-03)

                   Rep. Pete Sessions (TX-17)

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                 Rep. Steve Womack (AR-03)




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